15-10243-mg        Doc 236    Filed 02/01/17 Entered 02/01/17 17:40:41       Main Document
                                            Pg 1 of 15


 JENNER & BLOCK LLP
 Richard Levin
 Carl N. Wedoff
 919 Third Avenue
 New York, NY 10022
 (212) 891-1600

 Vincent E. Lazar
 353 N. Clark Street
 Chicago, IL 60654
 (312) 222-9350

 Proposed Special Litigation Counsel for James S.
 Feltman, Not Individually But Solely in His Capacity
 as Chapter 11 Trustee

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


   In re
                                                          Chapter 11
   TS EMPLOYMENT, INC.,
                                                          Case No. 15-10243 (MG)
                          Debtor.

   In re                                                  Chapter 11

  CORPORATE RESOURCE SERVICES, INC.,                      Case No. 15-12329 (MG)
  et al.,
                                                          Jointly Administered
                          Debtors.

                     CHAPTER 11 TRUSTEE’S APPLICATION FOR
                     AN ORDER AUTHORIZING THE NUNC PRO
                     TUNC EMPLOYMENT AND RETENTION OF
               JENNER & BLOCK LLP AS SPECIAL LITIGATION COUNSEL

           James S. Feltman, not individually but solely in his capacity as chapter 11 trustee

 (the “Trustee”) of both (i) TS Employment, Inc. (“TSE”), and (ii) Corporate Resource

 Services, Inc. (“CRS”), and CRS’s subsidiaries Accountabilities, Inc., Corporate Resource
15-10243-mg     Doc 236     Filed 02/01/17 Entered 02/01/17 17:40:41        Main Document
                                          Pg 2 of 15


 Development Inc., Diamond Staffing Services, Inc., Insurance Overload Services, Inc.,

 Integrated Consulting Services, Inc., The CRS Group, Inc. and TS Staffing Services, Inc.

 (together with CRS, the “CRS Debtors” and, collectively with TSE, the “Debtors”) makes

 this joint application for entry of an order in both the TSE case and the cases of the CRS

 Debtors, substantially in the forms attached hereto as Exhibits A-1 and A-2, authorizing

 him to employ and retain Jenner & Block LLP (“Jenner”) as special litigation counsel

 (“Special Litigation Counsel”) in each of the above-captioned chapter 11 cases. In support

 of this Application, the Trustee submits the Affidavit of Vincent E. Lazar, a Jenner

 partner, annexed hereto as Exhibit B (the “Lazar Declaration”), and the Declaration of

 James S. Feltman, annexed hereto as Exhibit C (the “Feltman Declaration”), and

 respectfully states:

                              JURISDICTION AND VENUE

        1.     This Court has jurisdiction to consider this Application pursuant to 28

 U.S.C. § 1334 and the “Amended Standing Order of Reference” for the Southern District

 of New York, dated January 31, 2012. This is a core proceeding under 28 U.S.C.

 § 157(b)(2). Venue of this case and this Application in this District is proper under 28

 U.S.C. §§ 1408 and 1409.

        2.     The legal predicates for the relief requested herein are sections 327, 328, and

 330 of the Bankruptcy Code, 11 U.S.C. §§ 101–1532, Rules 2014 and 2016 of the Federal

 Rules of Bankruptcy Procedure, and Rule 2014-1 of the Local Rules for the United States

 Bankruptcy Court for the Southern District of New York.




                                              2
  
15-10243-mg       Doc 236    Filed 02/01/17 Entered 02/01/17 17:40:41     Main Document
                                           Pg 3 of 15


                                     BACKGROUND

       3.     On February 2, 2015 (the “Petition Date”), TSE filed a voluntary petition for

 relief under Chapter 11 of the Bankruptcy Code in this Court.

       4.     On February 12, 2015, the United States Trustee for the Southern District of

 New York moved for appointment of a chapter 11 Trustee for TSE (TSE Dkt. No. 21). On

 February 20, 2015, the Court entered the Consent Order Directing the Appointment of a

 Chapter 11 Trustee (TSE Dkt. No. 31).

       5.     On February 27, 2015, the U.S. Trustee appointed Mr. Feltman as Chapter

 11 Trustee in the TSE case (the “TSE Trustee”) (TSE Dkt. No. 33), and the same day, the

 Court entered an order approving Mr. Feltman’s appointment (TSE Dkt. No. 36).

       6.     On July 23, 2015, CRS and the CRS Debtors commenced voluntary Chapter

 11 cases in the Bankruptcy Court for the District of Delaware.

       7.     On August 18, 2015, this Court transferred the CRS Debtors’ cases to this

 Court (TSE Dkt. No. 146).

       8.     On September 22, 2015, the United States Trustee appointed Mr. Feltman as

 chapter 11 Trustee for the CRS Debtors’ cases (the “CRS Trustee”). (CRS Dkt. No. 143).

 On September 25, 2015, the Court approved the appointment (CRS Dkt. No. 148), which

 Mr. Feltman accepted on October 1, 2015 (CRS Dkt. No. 149).

       9.     The Court approved the nunc pro tunc retention of Togut, Segal & Segal LLP

 (“TSS”) as general bankruptcy counsel to the TSE Trustee on April 14, 2015 (TSE Dkt. No.

 88) and as general bankruptcy counsel to the CRS Trustee on December 21, 2015 (CRS

 Dkt. No. 207).

                                             3
  
15-10243-mg                     Doc 236                 Filed 02/01/17 Entered 02/01/17 17:40:41   Main Document
                                                                      Pg 4 of 15


               10.            The CRS Debtors’ cases are being jointly administered. The TSE case is

 being separately administered.

                                                                 RELIEF REQUESTED

               11.            By this Application, the Trustee seeks entry of an order authorizing him to

 employ and retain Jenner nunc pro tunc1 as Special Litigation Counsel to investigate,

 evaluate and prosecute claims against certain persons and entities described below on

 behalf of one or more of the Debtors’ estates. As detailed more fully below, Jenner’s

 employment will consist of two phases: (i) an initial investigation and evaluation of

 potential claims, for which Jenner will be compensated on an hourly basis by the

 applicable Debtor and will be entitled to seek and receive compensation under sections

 330 and 331 of the Bankruptcy Code, payment of which shall not exceed $750,000 in the

 aggregate, and (ii) prosecution of claims, for which Jenner will be entitled to

 compensation solely on a contingency fee basis pre-approved under section 328 of the

 Bankruptcy Code.

                                                                JENNER’S RETENTION

               12.            The Debtors’ respective cases were commenced following the discovery

 that TSE had failed to remit more than $100 million in payroll-related taxes to federal and

 state taxing authorities. During the course of the respective cases, the Trustee and his



                                                             
 1 Jenner initially commenced work on the Trustee’s behalf on September 27, 2016, but
 additional work and the filing of this application were delayed while the fee arrangement
 described herein was crafted and negotiated. The Trustee therefore seeks approval of
 Jenner’s retention nunc pro tunc to September 27, 2016, or such other date as the Court
 permits.
                                                                        4
  
15-10243-mg     Doc 236     Filed 02/01/17 Entered 02/01/17 17:40:41        Main Document
                                          Pg 5 of 15


 general bankruptcy counsel TSS have concluded, subject to further investigation and

 evaluation, that the Debtors’ estates may be entitled to assert claims against certain of the

 Debtors’ respective insiders, affiliates, lenders, and pre-petition professionals. The

 Trustee and TSS also concluded that it was in the best interests of the Debtors’ respective

 estates that the Trustee retain special counsel to conduct a further investigation and

 evaluation of the potential claims, and to prosecute some or all of those claims for the

 benefit of the Debtors’ respective estates and their creditors on a contingency fee basis.

        13.    The Trustee and Jenner have agreed that Jenner will advise and represent

 the Trustee in connection with, and the scope of Jenner’s engagement and duties shall

 relate solely to, the investigation, evaluation and prosecution of claims against the

 Debtors’ insiders, affiliates, lenders, and professionals, and such additional persons as

 may be identified during the course of Jenner’s investigation (“Special Litigation

 Matters”). The scope of Jenner’s representation will not duplicate the efforts of the

 Trustee’s general chapter 11 counsel, TSS (or any other counsel that has been retained by

 the Trustee in these cases).

        14.    Jenner is well qualified to represent the Trustee in these chapter 11 cases.

 Jenner attorneys have extensive experience representing bankruptcy trustees in complex

 bankruptcy investigation and litigation matters, and regularly represent bankruptcy

 trustees in high-profile and cutting-edge adversary proceedings and related appeals.

 Among other matters, Jenner attorneys have recovered more than $500 million for the

 chapter 11 trustee and liquidation trustee in In re Sentinel Management Group Inc., No. 07

 B 14987 (Bankr. N.D. Ill.), including recoveries on account of claims against Sentinel’s

                                              5
  
15-10243-mg     Doc 236    Filed 02/01/17 Entered 02/01/17 17:40:41        Main Document
                                         Pg 6 of 15


 insiders, professionals and lenders; obtained a $272+ million judgment in favor of a

 chapter 7 trustee in In re Emerald Casino, Inc., No. 02 B 22977 (Bankr. N.D. Ill.), based on

 claims against the debtor’s former directors and officers; represent the chapter 7 trustee

 in In re Lancelot Investors Fund, L.P., No. 08 B 28225 (Bankr. N.D. Ill.), a hedge fund

 liquidation involving $1.8 billion in assets and numerous avoidance actions; obtained a

 $43 million avoidance action judgment for the chapter 7 trustee in In re Consolidated Indus.

 Corp., No. 98-bk-40533 (Bankr. N.D. Ind.), against the debtor’s owners; and acted as

 special counsel to the chapter 7 trustee (Albert Togut of TSS) in In re Refco, LLC, No. 05-

 60134 (RDD) (Bankr. S.D.N.Y.), where the trustee distributed billions of dollars to

 customers and creditors. Several of these cases involved contingency fee arrangements

 that were approved by the bankruptcy court and/or trustee.

        15.    In addition, several Jenner partners have served as chapter 11 trustees in

 significant cases, and two Jenner partners have served as chapter 7 trustees since the

 1980s. Jenner attorneys also have been employed in the past by the Trustee on other

 bankruptcy cases where the Trustee had been appointed to serve as chapter 11 or 7

 trustee, and they enjoy an excellent working relationship with the Trustee.

        16.    No other law firm has been retained to investigate and prosecute the Special

 Litigation Matters. In addition to TSS, the Court also has approved the retention of certain

 other firms for discreet services. Because of their well-defined roles, Jenner’s work as

 Special Litigation Counsel will be complementary rather than duplicative of the services

 already performed, and to be performed in the future, by TSS, other retained counsel,

 and other professionals as may be retained by the Trustee. Jenner has acted as special

                                              6
  
15-10243-mg     Doc 236     Filed 02/01/17 Entered 02/01/17 17:40:41        Main Document
                                          Pg 7 of 15


 counsel in other cases where TSS served as general bankruptcy counsel to the bankruptcy

 trustee, and the firms are well positioned to coordinate with each other and avoid any

 unnecessary duplication of effort.

        17.    Jenner intends to seek compensation for services rendered and expenses

 incurred in both the TSE case and the CRS Debtors’ cases, separately, in accordance with

 the Engagement Letter between the Trustee and Jenner attached as Exhibit B-1 to the

 Lazar Declaration, the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy

 Rules, any applicable orders of the Court, and except as otherwise provided for herein

 the U.S. Trustee Guidelines (the “Fee Guidelines”).

        18.    Specifically, the Trustee and Jenner have agreed to a compensation

 structure that is split between an hourly rate structure (with a cap on payment of fees)

 and a variable contingency fee arrangement.

        19.    During the initial investigation and evaluation of potential claims, Jenner’s

 fees will be based upon hours charged, recorded in tenth of an hour increments, at

 Jenner’s scheduled rates which are in effect at the time the services are performed plus

 expenses incurred during the investigation and evaluation of claims. The Trustee and

 Jenner further have agreed that the overall actual amount of compensation Jenner may

 receive from the estates for its fees incurred related to the investigation and evaluation of

 potential claims shall not exceed $750,000. Although this $750,000 cap on payment of fees

 incurred related to the investigation and evaluation of potential claims applies across

 both the TSE case and the CRS Debtors’ cases, Jenner will keep separate time records for

 the TSE case and the CRS Debtors’ cases and will submit separate fee applications in both

                                              7
  
15-10243-mg     Doc 236     Filed 02/01/17 Entered 02/01/17 17:40:41        Main Document
                                          Pg 8 of 15


 cases, which will be paid by the applicable estate that incurred such fees. To extent work

 is performed for the benefit of more than one estate, the time will be allocated in Jenner’s

 fee applications.

        20.    Jenner’s hourly rates are set forth in the Lazar Declaration and are

 periodically adjusted, generally at the beginning of a calendar year. The hourly rates and

 corresponding rate structure Jenner will use in these chapter 11 cases are the same as the

 hourly rates and corresponding rate structure that Jenner typically uses in other litigation

 and bankruptcy matters, regardless of whether a fee application is required.

        21.    As claims are identified and evaluated during the course of Jenner’s

 investigation, Jenner and the Trustee will determine whether they should be prosecuted

 by Jenner on a contingency fee basis, or whether it would be more appropriate for other

 counsel to prosecute certain of the claims and/or that they be prosecuted on different

 basis. For any claims the Trustee and Jenner conclude and agree should be prosecuted

 by Jenner on a contingency fee basis, except as otherwise agreed by the Trustee and

 Jenner and approved by the Court, Jenner shall not be entitled to compensation on an

 hourly basis, but instead shall be entitled to a percentage contingency fee ranging from

 7.5% to 34% of net cash recoveries paid to either the TSE estate of the CRS Debtors’ estates,

 depending on the nature of the claim, the stage of the litigation (if any) and other factors.

 A summary of the calculation of the applicable contingency fee (“Contingency Fee”)

 follows:




                                              8
  
15-10243-mg        Doc 236       Filed 02/01/17 Entered 02/01/17 17:40:41        Main Document
                                               Pg 9 of 15


                         Recoveries From Sources Other Than Lenders

     First $15 million in net recoveries           34% of the net recoveries

     Next $85 million in net recoveries            20% of the net recoveries
     (recoveries of up to $100 million)
     Recoveries over $100 million                  10% of the net recoveries


                                      Recoveries From Lenders

                                      Pre-discovery            After               After trial
                                                          commencement            commences
                                                           of MSJ Briefing
     First $10 million in           25% of net           30% of net            34% of net
     recoveries                     recoveries           recoveries            recoveries
     Next $40 million in net        15% of net           25% of net
     recoveries (recoveries of      recoveries           recoveries
     up to $50 million)
     Next $50 million in            7.5% of net          15% of net            25% of net
     recoveries (recoveries of      recoveries           recoveries            recoveries
     up to $100 million)
     Recoveries over $100           5% of net            15% of net            20% of net
     million                        recoveries           recoveries            recoveries


           22.    The proposed Contingency Fee was the subject of extensive arms-length

 negotiations between the Trustee and Jenner over the course of several weeks, and was

 adjusted downwards following discussions with parties-in-interest.                 The scope of

 Jenner’s representation and compensation does not include any appeals.

           23.    In addition to fees, it is Jenner’s policy to charge its clients for out-of-pocket

 expenses and charges that Jenner incurs in connection with the representation. The

 Debtors’ estates shall be responsible for the payment of all expert fees, maintaining and

 searching document databases (including all costs related thereto), and the payment of

 all other expenses related to prosecution of any claims.

                                                  9
  
15-10243-mg     Doc 236    Filed 02/01/17 Entered 02/01/17 17:40:41          Main Document
                                        Pg 10 of 15


       24.     Jenner will make any requests for compensation and reimbursement of

 expenses for the initial investigation and evaluation phase under sections 330 or 331 of

 the Bankruptcy Code based on time recorded on an hourly basis by filing fee applications

 in both the TSE case and the CRS Debtors’ cases for the specific fees and expenses

 attributable to each case. Any compensation and reimbursement for expenses incurred

 that the Court allows shall be payable as an administrative expense of the applicable

 estate under section 503(b) of the Bankruptcy Code from funds on hand in the applicable

 Debtors’ estates, subject to the overall $750,000 cap on payment of fees.

       25.     The hourly rate structure is appropriate and is comparable to the rates that

 other comparable counsel would charge to do work substantially similar to the work

 Jenner will perform as Special Litigation Counsel. The Trustee respectfully submits that

 Jenner’s rates and reimbursement policies, as stated in the Lazar Declaration, are

 reasonable.

       26.     With respect to the Contingency Fee matters, Jenner also shall file separate

 requests for compensation in both the TSE case and the CRS Debtors’ cases, but will not

 be required to establish the elements set forth in section 330 of the Bankruptcy Code and

 the Fee Guidelines applicable to matters billed on an hourly basis. Rather, the Trustee

 seeks entry of an order pre-approving the Contingency Fee arrangement under section

 328(a) of the Bankruptcy Code. and requiring that Jenner seek payment of any

 Contingency Fee by submitting an application with the Court in the applicable case under

 the standards of section 328(a) of the Bankruptcy Code, whereby a timely objection

 thereto made by a party in interest may be considered solely if the terms and conditions

                                             10
  
15-10243-mg     Doc 236     Filed 02/01/17 Entered 02/01/17 17:40:41       Main Document
                                         Pg 11 of 15


 of Jenner’s retention “prove to have been improvident in light of developments not

 capable of being anticipated at the time of the fixing of such terms and condition.” 11

 U.S.C. § 328(a). Jenner will keep contemporaneous records of the time expended in

 connection with providing such Contingency Fee services, but does not intend to submit

 those time records as part of its compensation application.

        27.    To the best of the Trustee’s knowledge, Jenner’s attorneys do not hold or

 represent any interest adverse to the Debtors’ estates. More specifically, as set forth in

 the Lazar Declaration, Jenner and its attorneys: (a) are not creditors, equity holders or

 insiders of the Debtors; (b) are not and were not, within two years before the date of the

 filing of the Debtors’ chapter 11 petitions, trustees, officers or employees of the Debtors;

 and (c) do not have an interest materially adverse to the interests of the Debtors’ estates

 or of any class of creditors or equity holders by reason of any direct or indirect

 relationship to, connection with, or interest in the Debtors, or for any other reason.

        28.    As set forth in the Lazar Declaration, Jenner has affirmed to the Trustee that

 it has not represented and will not represent any parties other than the Trustee in these

 cases or in connection with any matters that would be adverse to the Debtors’ estates

 arising from, or related to, these cases.

        29.    Based upon the Lazar Declaration, Jenner is a “disinterested person,” as

 defined in section 101(14) of the Bankruptcy Code, does not hold or represent an interest

 adverse to the Debtors’ chapter 11 cases, and Jenner’s attorneys do not hold or represent

 any interest adverse to the Debtors’ chapter 11 cases or their estates. Jenner will conduct

 an ongoing review of its records to ensure that no conflicts or other disqualifying

                                              11
  
15-10243-mg     Doc 236     Filed 02/01/17 Entered 02/01/17 17:40:41        Main Document
                                         Pg 12 of 15


 circumstances exist or arise. If any new facts or circumstances are discovered, Jenner will

 supplement its disclosure to the Court.

                                      BASIS FOR RELIEF

        30.    The Trustee seeks retention of Jenner as his Special Litigation Counsel

 pursuant to section 327(a) of the Bankruptcy Code, which provides that a debtor, subject

 to court approval:

        [M]ay employ one or more attorneys, accountants, appraisers, auctioneers,
        or other professional persons, that do not hold or represent an interest
        adverse to the estate, and that are disinterested persons, to represent or
        assist the trustee in carrying out the trustee’s duties under this title.

        31.    The Trustee seeks pre-approval of the Contingency Fee under section 328(a)

 of the Bankruptcy Code, under which a “trustee . . . with the court’s approval, may

 employ or authorize the employment of a professional person under section 327 . . . on

 any reasonable terms and conditions of employment including on a retainer, on an hourly

 basis, on a fixed or percentage fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a).

 See Riker, Danzig, Scherer, Hyland & Perretti v. Official Comm. of Unsecured Creditors (In re

 Smart World Techs., LLC), 552 F.3d 228, 232-234 (2d Cir. 2009) (affirming pre-approval of

 special litigation counsel’s contingency fee arrangement pursuant to section 328(a) and

 noting that “section 328(a) permits a bankruptcy court to forgo a full post-hoc

 reasonableness inquiry if it pre-approves the ‘employment of a professional person under

 section 327”) (citations omitted).

                      32.    Bankruptcy Rule 2014(a) requires that an application for

 retention include:



                                              12
  
15-10243-mg    Doc 236    Filed 02/01/17 Entered 02/01/17 17:40:41        Main Document
                                       Pg 13 of 15


       [S]pecific facts showing the necessity for the employment, the name of the
       [firm] to be employed, the reasons for the selection, the professional
       services to be rendered, any proposed arrangement for compensation, and,
       to the best of the applicant’s knowledge, all of the [firm’s] connections with
       the debtor, creditors, any other party in interest, their respective attorneys
       and accountants, the United States trustee, or any person employed in the
       office of the United States trustee

       33.    The aforementioned requirements have been satisfied by this Application,

 the Lazar Declaration, and the Feltman Declaration. The Trustee submits that the

 retention and employment of Jenner as Special Litigation Counsel to the Trustee is

 warranted.

              STATEMENT REGARDING U.S. TRUSTEE GUIDELINES

       34.    The applicant statement referenced in Part D.1 of the Appendix B to the

 Guidelines for Reviewing Applications for Compensation and Reimbursement of

 Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases (the “U.S.

 Trustee Guidelines”) is addressed in the Lazar Declaration, annexed as Exhibit B in

 support of this Application. The verified client statement referenced in Part D.2 of the

 U.S. Trustee Guidelines is addressed in the Feltman Declaration, annexed as Exhibit C in

 support of this Application.

       35.    Section D.1 of the Guidelines for Reviewing Applications for Compensation

 and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger

 Chapter 11 Cases Effective as of November 1, 2013 requests the following information:

       (a) Did you agree to any variations from, or alternatives to, your standard or
           customary billing arrangements for this engagement?




                                            13
  
15-10243-mg    Doc 236    Filed 02/01/17 Entered 02/01/17 17:40:41        Main Document
                                       Pg 14 of 15


       Response: Yes. Jenner has agreed that it shall not be paid more than $750,000 for

 its work during the claim investigation and evaluation stage of the representation.

 Further, Jenner has agreed to a contingency fee arrangement for work done in connection

 with the prosecution of any claims.

       (b) Do any of the professionals included in this engagement vary their rate based
           on the geographic location of the bankruptcy case?

       Response: No.

       (c) If you represented the client in the 12 months prepetition, disclose your billing
           rates and material financial terms for the prepetition engagement, including
           any adjustments during the 12 months prepetition. If your billing rates and
           material financial terms have changed postpetition, explain the difference and
           the reasons for the difference.

        Response: Not applicable.

       (d) Has your client approved your prospective budget and staffing plan, and, if so,
           for what budget period?

       Response: Yes. The Trustee has approved Jenner’s budget and staffing plan,

 which is reflected in the $750,000 investigation payment cap and the contingency fee

 arrangement for the prosecution of claims determined and agreed that they should be

 prosecuted by Jenner. The Trustee and Jenner have concluded that the investigation fee

 payment cap and contingency fee arrangement obviate the need for a more detailed

 budget that would be appropriate in other cases billed on an hourly basis.

                                         NOTICE

       36.    Notice of this Application will be given to: (a) the United States Trustee for

 the Southern District of New York; (b) counsel for the Debtors; and (c) all parties who




                                            14
  
15-10243-mg   Doc 236   Filed 02/01/17 Entered 02/01/17 17:40:41   Main Document
                                     Pg 15 of 15
